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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


MARK STANALAJCZO, DDS,

      Plaintiff,                                      Case No. 23-cv-11527
                                                      Hon. Matthew F. Leitman
v.

BRANDONN PERRY, et al.,

      Defendants.

_________________________________________________________________


            STIPULATION REGARDING SECOND AMENDED
              COMPLAINT AND RESPONSIVE PLEADING

      NOW COMES Plaintiff and Defendants, through counsel, who stipulate to

the following:

      The parties, having discussed this matter on January 15, 2024 and January

17, 2024, stipulate that Plaintiff will file a second amended complaint by January

19, 2024 or within one day of this Court’s Order authorizing the amendment, and

Defendants will file a responsive pleading within 21 days of the date that the

second amended complaint is filed.
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     It is so stipulated.


/s/Dennis Dubuc                          /s/ Timothy H. Howlett (w/perm)
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Attorney for Plaintiff                   Attorney for Defendants
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


MARK STANALAJCZO, DDS,

      Plaintiff,                                        Case No. 23-cv-11527
                                                        Hon. Matthew F. Leitman
v.

BRANDONN PERRY, et al.,

      Defendants.

_________________________________________________________________


                    ORDER REGARDING SECOND AMENDED
                   COMPLAINT AND RESPONSIVE PLEADING


      Consistent with the stipulation of the parties,

      IT IS HEREBY ORDERED that Plaintiff may file a second amended

complaint within one day of this Order, and Defendants shall file a responsive

pleading within 21 days thereafter.


                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: January 18, 2024




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